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 5   MICHELLE TRUONG

6                                    UNITED STATES DISTRICT COURT
7                                   EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,                                      Case No. 12-CR-49 TLN

10
                                               Plaintiff,
11
                                    v.                              STIPULATION AND ORDER
12                                                                  PERMITTING DEFENDANT
13   MICHELLE TRUONG,                                               MICHELLE TRUONG TO
                                                                    TRAVEL “UNMONITORED”
14                                                                  TO HAWAII FOR
                                                                    ARRAIGNMENT IN THE
15                                             Defendants.          UNITED STATES DISTRICT
                                                                    COURT FOR THE DISTRICT
16                                                                  OF HAWAII
17

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19
            Defendant Michelle Truong and the United States Attorney for the Eastern District of California
21   by and through their counsel of record, hereby stipulate as follows:
22          By previous order, this court modified defendant Michelle Truong’s conditions of pre-trial
23   release to include an ankle monitor and a curfew. Defendant is scheduled to travel to Honolulu, Hawaii
24   on September 8, 2015 for her arraignment in the United States District Court for the District of Hawaii
25   and is scheduled to return to California on September 10. For defendant to travel to Hawaii, the above
26   conditions need to be temporarily lifted between September 8 and September 10, 2015 and she is
27   therefore requesting this court to so order.
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 1          The parties agree and stipulate, and request that the Court make the following order:

 2

 3          Defendant Michelle Truong’s pre-trial release conditions are hereby modified in that she may
 4   travel with the ankle monitor in place and her curfew is lifted between the dates of September 8 and

 5   September 10, 2015, to allow her to travel to Honolulu, Hawaii, for arraignment in the U.S. District

 6   court there. All other terms and conditions of her pre-trial release will remain in effect.
 7
            IT IS SO STIPULATED.
 8
 9
10
     Date: September 1, 2015                                /s/ PAUL DENNISON
11                                                          PAUL DENNISON
12                                                          Attorney for Defendant
                                                            MICHELLE TRUONG
13
14
15   Date: September 1, 2015                                /s/ TODD PICKLES
16                                                          TODD PICKLES
                                                            Attorney for Plaintiff
17                                                          UNITED STATES OF AMERICA
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21
22                                            ORDER
23          The parties having agreed to the foregoing, IT IS SO ORDERED.
24

25          Date: September 3, 2015
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